                                      United States Bankruptcy Court
                                      Eastern District of Wisconsin
In re:                                                                                  Case No. 15-23578-mdm
Hugo Rodriguez                                                                          Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0757-2           User: sko                    Page 1 of 2                   Date Rcvd: Nov 25, 2015
                               Form ID: b18                 Total Noticed: 32

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 27, 2015.
db             +Hugo Rodriguez,   4212 Harding Rd.,    Kenosha, WI 53142-3249
9265015         Account Recovery Service Inc.,    N114W19225 Clinton Dr.,    Germantown, WI 53022-3015
9265016       #+Account Recovery Service, Inc.,    3031 N 114th St.,    Milwaukee, WI 53222-4218
9265017         Adela Lechuga,    3554 14th Ave.,    Kenosha, WI 53140-5401
9265019        +Arnold Scott Harris PC,   111 West Jackson Blvd Ste. 600,     Chicago, IL 60604-3517
9265020        +Capital One Bank (USA) N.A.,    c/o Messerli & Kramer PA,    3033 Campus Drive Ste. 250,
                 Minneapolis, MN 55441-2662
9265023         Citifinancial Retail Services,    PO Box 183041,    Columbus, OH 43218-3041
9265024         Citifinancial Retail Services,    PO Box 22060,    Tempe, AZ 85285-2060
9265027         First Fed Credit Control,    2470 Chagrin Blvd, Ste 205,    Beachwood, OH 44122-5630
9265031        +Infinity Healthcare Physicians SC,    111 E. Wisconsin Ave. Ste. 2100,
                 Milwaukee, WI 53202-4809
9265034         Kenosha Emergency Physicians SC,    PO Box 3261,    Milwaukee, WI 53201-3261
9265035        +MEA-AEA Kenosha SC,   PO Box 366,    Hinsdale, IL 60522-0366
9265036         Nationwide Credit Corporation,    5503 Cherokee Ave.,    Alexandria, VA 22312-2307
9265043        +Samantha Maldonado,   2129 Racine St.,    Racine, WI 53403-3342
9265045         State Collection Service Inc.,    PO Box 6250,    Madison, WI 53716-0250
9265046         United Hospital System,   6308 8th Ave.,    Kenosha, WI 53143-5082
9265052        +Virtuoso Sourcing Group,    4500 Cherry Creek S Dr,    Ste. 300,   Denver, CO 80246-1531
9265055         Wisconsin SCTF,   Department of Children and Families,
                 201 East Washington Avenue, Second Floor,     PO BOx 8916,   Madison, WI 53708-8916

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
9265018         EDI: AFNIRECOVERY.COM Nov 26 2015 01:28:00       AFNI,    PO Box 3097,
                 Bloomington, IL 61702-3097
9265021        +EDI: CAPITALONE.COM Nov 26 2015 01:28:00       Capital One Bank USA NA,    PO Box 30281,
                 Salt Lake City, UT 84130-0281
9265022        +EDI: CITICORP.COM Nov 26 2015 01:28:00       Citicards CBNA,    PO Box 6241,
                 Sioux Falls, SD 57117-6241
9265025        +E-mail/Text: bkcy@creditmgt.com Nov 26 2015 01:42:28        Credit Management Control,
                 PO Box 1654,    200 S Monroe Ave.,   Green Bay, WI 54301-4059
9265026        +E-mail/Text: bknotice@erccollections.com Nov 26 2015 01:42:35        Enhanced Recovery Co.,
                 8014 Bayberry Road,    Jacksonville, FL 32256-7412
9265028         EDI: RMSC.COM Nov 26 2015 01:28:00       GE Capital Retail Bank,    Attn: Bankruptcy Dept.,
                 PO Box 965060,    Orlando, FL 32896-5060
9265029        +EDI: RMSC.COM Nov 26 2015 01:28:00       GE Money Bank,    PO Box 981064,    El Paso, TX 79998-1064
9265033        +E-mail/Text: ebnsterling@weltman.com Nov 26 2015 01:42:22        Kay Jewelers,    375 Ghent Rd.,
                 Akron, OH 44333-4600
9265038        +E-mail/Text: ggerber@oackrinc.com Nov 26 2015 01:42:12        Oliver Adjustment Co,
                 3416 Roosevelt Road,    Kenosha, WI 53142-3937
9265041        +E-mail/Text: admin@paypps.com Nov 26 2015 01:43:05        Professional Placement Services,
                 272 N 12th St.,    Milwaukee, WI 53233-2604
9265042         E-mail/Text: admin@paypps.com Nov 26 2015 01:43:05        Professional Placement Services, LLC,
                 PO Box 612,    Milwaukee, WI 53201-0612
9265044         EDI: NEXTEL.COM Nov 26 2015 01:28:00       Sprint,   6200 Sprint Parkway,
                 Overland Park, KS 66251
9265050        +EDI: VERIZONWIRE.COM Nov 26 2015 01:28:00       Verizon Wireless,    777 Big Timber Road,
                 Elgin, IL 60123-1401
9265053        +E-mail/Text: Bankruptcy-Notifications@we-energies.com Nov 26 2015 01:41:56
                 Wisconsin Electric,    333 W Everett St,    PO Box 2046,    Milwaukee, WI 53201-2046
                                                                                                TOTAL: 14

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
9265032*       +Infinity Healthcare Physicians SC,    111 E. Wisconsin Ave. Ste. 2100,
                 Milwaukee, WI 53202-4809
9265037*        Nationwide Credit Corporation,    5503 Cherokee Ave.,    Alexandria, VA 22312-2307
9265039*       +Oliver Adjustment Co,    3416 Roosevelt Road,   Kenosha, WI 53142-3937
9265040*       +Oliver Adjustment Co,    3416 Roosevelt Road,   Kenosha, WI 53142-3937
9265047*        United Hospital System,    6308 8th Ave.,   Kenosha, WI 53143-5082
9265048*        United Hospital System,    6308 8th Ave.,   Kenosha, WI 53143-5082
9265049*        United Hospital System,    6308 8th Ave.,   Kenosha, WI 53143-5082
9265054*       +Wisconsin Electric,   333 W Everett St,    PO Box 2046,    Milwaukee, WI 53201-2046
9265030      ##+Helen Torres,   1422 24th St.,    Kenosha, WI 53140-1811
9265051       ##Virtuoso Sourcing Group,    PO Box 5818,   Denver, CO 80217-5818
                                                                                              TOTALS: 0, * 8, ## 2

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.




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                                      Form ID: b18                       Total Noticed: 32


             ***** BYPASSED RECIPIENTS (continued) *****

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 27, 2015                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 25, 2015 at the address(es) listed below:
              David P. Leibowitz   on behalf of Debtor Hugo Rodriguez dleibowitz@lakelaw.com, ecf@lakelaw.com
              Office of the U. S. Trustee   ustpregion11.mi.ecf@usdoj.gov
              Titania D. Whitten   trustee@whittendusell.com, WI50@ecfcbis.com
                                                                                            TOTAL: 3




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                                    United States Bankruptcy Court
                                            Eastern District of Wisconsin
                                                Case No. 15−23578−mdm
                                                       Chapter 7

In re Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Hugo Rodriguez
   aka Hugo Rodriguez Gonzalez
   4212 Harding Rd.
   Kenosha, WI 53142
Social Security / Individual Taxpayer ID No.:
   xxx−xx−1100
Employer Tax ID / Other nos.:



                                           DISCHARGE OF DEBTOR

It appearing that the debtor is entitled to a discharge,

IT IS ORDERED:

The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).



                                                             BY THE COURT

Dated: 11/25/15                                              Margaret Dee McGarity
                                                             United States Bankruptcy Judge



                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




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                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts That are Not Discharged

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes;

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans.



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.




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